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Exhibit 43
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

RRR KR RRR KR KR RR KR RK KKK KEK EKER KEKE KE KEKEK

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION,

KR KR RR KR RRR KR KR RRR KKK KK KEK KEKE KKK KK KEK

THIS DOCUMENT RELATES To:

RRR RR KR RK RRR KR OR KR RK RRR KK RRR KEK KEK ESE

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHIELD OF
LOUISIANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAL 52
HEALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others Similarly
Situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY.

KOR KR KR RR KR RR KR RK RK KR KR RRR KR KEK KKK KE EKKEEK

THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC.

KR RK KR RR KR KR KR RRR KKK RK KKK KKK KER KER KKEKEEK

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

KOR RK RK RR KR RR KER RK KKK ERK KER KK KER KKKEEE

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

FORK RIO IO Rk dk dO Ok Tndex No.
THIS DOCUMENT APPLIES TO: 765000/06

ALL CASES

 

 
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218 220
measure of efficacy? 14:54:41 MR. RONA: Objection. 14:57:01
Q. Yes. In other words, the measure of 14:54:42 A. Well, what it tells us is in this 14:57:01
efficacy that we're talking about in 14:54:44 experimental model with this metric with these 14:57:05
paragraph eight here, the second of the measures 14:54:46 kinds of patients in whom, for example, people 14:57:16
of efficacy I think of the three that you 14:54:48 who did not like gabapentin before were not 14:57:19
focused on. 14:54:50 allowed into the trial, so there is probably 14:57:21
A. Well, [looked for a more important 14:54:56 some enrichment by some unknown degree. None of 14:57:27
one of elevated measure of obvious improvement, 14:54:58! the patients, for example, who I've assessed who 14:57:33
and nobody studied that, so this is the second 14:55:02 did not like gabapentin would have been allowed 14:57:38
of those on which there was evidence. 14:55:04 to enroll in any of these trials in general 14:57:41
Q. Sure. 14:55:06 because they would have been excluded as people 14:57:44
A. This is the third of the measures we 14:55:07 who did not tolerate it. 14:57:45
set out to look for. 14:55:09 So it inherently biases the 14:57:50
Q. Fair enough, 14:55:10 experiment, I believe, to favor -- or my 14:57:52
But I guess the question was that this 14:55:13 conclusion is that I think the design of the 14:57:56
metric, whatever number it is, was meant to 14:55:16 experiments almost certainly biases the 14:58:00
determine the average amount by which patients 14:55:19 | experiments to favor gabapentin and the apparent 14:58:03
had said their pain had improved during the 14:55:21 result. 14:58:08
course of the trial, is that correct? 14:55:23 With all those constraints, the 14:58:09
A. With the use of an eleven point scale, 14:55:25 average affect on this score is 0.78 on an 14:58:10
or an equivalent visual analog scale. 14:55:30 eleven point scale. 14:58:16
Q. Okay. Your conclusion here is thatin 14:55:34 BY MR. POLUBINSKI: 14:58:17
short-term studies again, there is a 14:55:36 Q. Which is statistically significant? 14:58:17
statistically significant difference between 14:55:39 A. Which is statistically significant, 14:58:19
219 221
gabapentin and placebo favoring gabapentin over 14:55:41] yes, 14:58:22
placebo, correct? 14:55:44 Q. Let's look at paragraph nine which 14:58:23
A. Yes. But one needs to read that 14:55:46 reads, "PGIC ‘moderately or much improved' as 14:58:57
sentence in conjunction with the following 14:55:49 percentage of patients," 14:59:01
sentence, that "gabapentin was associated witha 14:55:51 And what this measure of efficacy 14:59:06
weighted mean difference by the end of the study 14:55:53 seeks to analyze is the percentage of patients 14:59:10
(last observation carried forward) of minus 14:55:57 who rated themselves moderately improved or much 14:59:14
0.78, versus placebo, on an eleven point scale." 14:56:00 improved on what's called the patient global 14:59:17
And the last observation carried 14:56:05 impression of change score, is that correct? 14:59:20
forward is a statistical technique of -- that's 14:56:07 A. Correct. 14:59:22
very controversial that attempts to account for 14:56:12 Q. Am I correct that these studies ask 14:59:23
patients who were not followed up to the 14:56:15 patients to use some of these studies, the ones 14:59:27
predefined end point which typically will 14:56:17 that relate to this section, asked patients to 14:59:30
exaggerate the apparent benefit when people drop 14:56:25} use a seven point patient global impression of — 14:59:33
out early because of an active drug compared 14:56:28 change scale? 14:59:37
with placebo. 14:56:33 A. Yes. 14:59:39
So this cannot be -- it's very 14:56:35 Q. And that one of the values on that 14:59:41
important that the two sentences be construed 14:56:38 seven point scale is much improved? 14:59:42
together, that's why I bolded the second one. 14:56:41 A. That would typically be number one. 14:59:44
Q. Okay. Is it correct, though, that 14:56:45 Q. And that another may be, number two, 14:59:46
your systematic review tells us that the 14:56:50 would be moderately improved? 14:59:50
available RCT evidence shows that gabapentin is 14:56:54 A. Typically. The British use a slightly 14:59:52
more efficacious than placebo in reducing 14:56:56 different analogous scale. 14:59:55
average patients' pain scores? 14:56:59 Q. So what this metric measures is the 14:59:57

 

 

 

56 (Pages 218 to 221)
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had found that, for example, everyone in the 15:05:06 we kind of lost track of them." That's sortof 15:07:26
study who took gabapentin was able to. go back to 15:05:1@ actually what happened in the famous Vioxx 15:07:29
work and none in the placebo group, that's what 15:05:14 | publication, they didn't report on the heart 15:07:33
I would have reported. And it would not be, or 15:05:16 attacks. And at the more mundane level of the 15:07:35
vice-versa, it would not be reasonable to go 15:05:21 scale, if you don't know what happens to a 15:07:39
back and say "oh, I don't like that result, I'm 15:05:23 person, it's generally considered not kosher to 15:07:40
going to now re-analyze it." 15:05:25 say "well, I think they may have been fine," you 15:07:44
It's understandable on human grounds, —- 15:05:27 have to assume there was no effect. It's not 15:07:47
but it's not scientific, and it's completely 15:05:30 saying they got worse, it's just saying they 15:07:50
intellectually invalid. That's the purpose as 15:05:33 didn't get better. 15:07:51
to set out the rules of analysis, justasinan 15:05:35 Q. Right. But I don't think you answered 15:07:52
individual randomized controlled trial, one 15:05:40 my question which is; can you point to any study 15:07:59
should pre-specify the statistical plan and then 15:05:43 or article or textbook that supports that 15:07:57
follow it, live by the rules that you set, 15:05:45 assumption? 15:07:58
that's called playing by the rules of the game 15:05:49 A. I don't memorize such things, so I 15:08:00
in other fields. 15:05:50 can't give them to you verbatim. But it's a 15:08:02
Q. Ail I'm saying is that you established 15:05:51 - widespread practice that that's what intention 15:08:06
the rules of the game here -- 15:05:54 to treat is all about. You've got to reporton 15:08:11
A. Yes, and followed them. 15:05:56 all the patients. 15:08:13
Q. -- in terms of the assumptions that 15:05:57 Q. And that you assume that if the 15:08:13
you chose without reference to any sort of 15:05:59 patient was not reported on, then the study 15:08:15
empirical analysis of these studies, correct? 15:06:01 medication must necessarily have been 15:08:19
MR. RONA: Objection. 15:06:05 inefficacious for that patient? 15:08:23
BY MR. POLUBINSKI: 15:06:10 MR, RONA: Objection, 15:08:24
227 229
Q. You established the rules before you 15:06:10 A. Well, and the placebo, that you assume 15:08:25
conducted any analysis of the studies? 15:06:11 that the desired outcome was not obtained. 15:08:27
A. Oh, yes. I'm just -- the only thing 15:06:14 BY MR. POLUBINSKI: 15:08:31
I'm hesitant on is I'm not sure what you mean by 15:06:15 Q. Okay. Let's flip back to -- 15:08:32
“any sort of empirical analysis." I think we've 15:06:17 A. Depends. You see, this is a 15:08:34
dealt with it, but -- 15:06:20 categorical outcome, they were either in 15:08:35
Q. Let me ask you this. 15:06:20 Category ! or 2 or not, it's all or nothing for 15:08:38
Can you point to any data or study or —:15:06:21 this particular outcome. 15:08:40
article or textbook that would support this 15:06:26 Q. Okay. Let's flip back to Page 34, 15:08:43
assumption that you made? 18:06:31 The conclusion that you reached here under 15:08:54
A. I think it's a standard. I think 15:06:33 paragraph nine is that “in short-term studies 15:08:58
probably many. I mean there's debate about -- 15:06:38 there is a statistically significant difference 15:09:01
there is a widespread debate about how to handle 15:06:41 between gabapentin and placebo favoring 15:09:04
missing data. You know, it's a huge, raging 15:06:45 gabapentin over placebo. Significantly, more 15:09:06
debate in statistics. But the best experiments 15:06:50 patients treated with gabapentin than with 15:09:09
don't lose any data. 15:06:54 placebo rated themselves moderately or much 15:09:1
You know, whether you're dealing with 15:06:59 improved, with absolute difference equals 15:09:14
animals, you don't say “well, a few of our 15:07:01 17.2 percent, number needed to treat equals 15:09:17
experimental rats died so, you know, we didn't 15:07:03 six." 15:09:20
do pathology reports on them." That obviously 15:07:06 Did I read that correctly? 15:09:20
would be extremely dangerous to humans if animal 15:07:0 A. Yes, you did. 15:09:21
experimenters did that, Andin humans you can't 15:07:12 Q. And so your systematic review tells us 15:09:23
say, "well, you know, at Vioxx we were giving it 15:07:15 here that the data from the trials shows that 15:09:26
for arthritis, but a few of the patients died so 15:07:19 gabapentin is more efficacious than placebo in 15:09:28

 

 

 

58 (Pages 226 to 229)
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reducing patient's pain to the point where they 15:09:31 good in psychiatry, for example, but we looked 15:12:14
rate themselves moderately or much improved on 15:09:34 for that, and that's the key outcome, and there 15:12:16
this scale, correct? 15:09:37 is no evidence on that. 15:12:18
MR. RONA: Objection. 15:09:38 BY MR. POLUBINSK!: 15:12:19
A. Well, again with the same caveats that 15:09:39 Q. In this case here, though, that's the 15:12:19
I raised with the other two outcomes we've just 15:09:42 point, that you didn't measure that outcome here 15:12:21
discussed. In this model, these patient 15:09:48 because there's no evidence on it, is that 15:12:23
populations, people who have not liked 15:09:51 correct? 15:12:25
gabapentin generally excluded, people with any 15:09:55 A. We didn't -- we weren't able to 15:12:25
degree of -- any significant degree of kidney 15:09:58 meta-analyze it because we found no evidence of = 15:12:2
impairment and various other comorbidities 15:10:01 it. 15:12:31
excluded, yes, it speaks for itself. 15:10:04 Q. Fair enough. So for the three -- 15:12:31
BY MR. POLUBINSKI: 15:10:08 A. It's the experimenters who didn't 15:12:31
Q. So you'd agree with me that for ail 15:10:10 measure it. 15:12:35
three of the measures of efficacy you looked at 15:10:13 Q. Right. 15:12:35
in your systematic review, gabapentin showed 15:10:15 So for the three measures for which 15:12:35
greater efficacy than placebo in treating 15:10:18 you couldn't find data, for all three of those 15:12:37
neuropathic pain? 15:10:22 measures of efficacy you looked at in your 15:12:39
MR. RONA: Objection. 15:10:22 systematic review, gabapentin showed greater 15:12:42
A, No. Because we looked for four, we 15:10:23 efficacy than placebo in treating neuropathic 15:12:45
ranked in our hierarchy, we looked for four 15:10:28 pain, correct? 15:12:46
outcomes. We ranked for our hierarchy -- I'm 15:10:31 MR. RONA: Objection. 15:12:47
sorry. We ranked in our hierarchy a measure 15:10:36 A. In this model, in this population, in 15:12:49
which would be inherently much more clinically 15:10:37} these experiments, yes. 15:12:52
231 233
relevant. 15:10:42 BY MR. POLUBINSKI: 15:12:53
For example, I am disabled by severe 15:10:42 Q. And that the difference was 15:12:53
postherpetic neuralgia from shingles, suddenly 15:10:52 statistically significant in all three, correct? 15:12:54
in early January, and you having gone to great 15:10:57 A. Correct. 15:12:56
lengths to negotiate with Mr. Rona a suitable 15:11:00 Q. You'd agree with me, therefore, that 15:13:07
time for the deposition are frustrated when he 15:11:03 there are a substantial number of patients in 15:13:11
says "Dr. Perry may not be able to come," and 15:11:09 these trials at least, these populations, who 15:13:13
Mr. Rona phones me and says, you know, "the 15:11:11 had their neuropathic pain symptoms relieved by 15:13:17
natives are restless, you better show up in 15:11:14 Neurontin? 15:13:21
Boston." "I can't, I'm lying here unable to 15:11:16 MR. RONA: Objection. 15:13:21
sleep." 15:11:19 A. Weil, that's a somewhat different -- 15:13:22
If a drug of any kind allowed me to 15:11:22 that's going beyond what I have said. These 15:13:29
make the trip to Boston and function adequately ‘15:11:25 conclusions are in the most precise language I 15:13:37
so that I can answer your questions 15:11:27 know how to use, a lot of thought went into 15:13:44
intelligibly, that to most people obviously has 15:11:32 these conclusions. They may seem very simple, 15:13:48
a much more apparent clinical significance than 15:11:39 | but the wording follows the experience we've 15:13:50
numbers on a pain scale or even, yes, I'm 15:11:44 learned in our group, the Therapeutics 15:13:56
moderately improved, it makes a difference 15:11:46 Initiative, over the last thirteen years or so, 15:13:58
between functioning and not functioning. 15:11:48 that we should attempt to avoid editorializing 15:14:00
And there are outcomes like that in 15:11:49 as much as possible and just give the facts. So 15:14:05
trials, for example severely disabling stroke in 15:11:56 these give an accurate statement of what the 15:14:07
stroke trials, or mortality or hospitalization 15:12:00 systematic review shows to be evidence from the 15:14:13
in heart failure trials. And I don't know if 15:12:04 controlled trials. 15:14:17
there are in other pain trials, they're not very 15:12:11 Beyond that is much more a matter of 15:14:18

 

 

59 (Pages 230 to 233)
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278 280
is there a small but statistically significant 16:19:30 experiments, I just -- in terms of efficacy I 16:21:52
benefit sort of that affects everybody? You 16:19:33 stand by what I've written in the report. Inan 16:22:04
take it, you get this bitofhelp. AndI don't 16:19:36 experimental setting, and in a real world 16:22:07
know the answer to that because they're not 16:19:41 setting I don't really know what percentage of — 16:22:09
really broken down that way. Youcan go--one 16:19:43 people would get a meaningful response. I think 16:22:13
can go as far as saying this percentage are 16:19:45 it would be some, but I don't know how many. 16:22:17
moderately or more than moderately improved. 16:19:48 BY MR. POLUBINSKI: 16:22:21
And I can either refer you in the 16:19:53 Q. And that's true of PHN, or true of 16:22:21
interest of time to the Forest plot, or I can 16:19:56 neuropathic pain more generally? 16:22:25
look it up if you prefer, 16:20:01 A. Both. But let me give you an example, 16:22:27
Q. You can refer it fo us if you like, 16:20:02 just a very brief one. 16:22:30
A. [don't remember it off the top of my — 16:20:04 A man with PHN for ten months was 16:22:31
head. 16:20:06 referred to me last September or October of 2008 16:22:34
But beyond that I don't really know, 16:20:06 for an opinion, he'd been taking gabapentin for 16:22:40
because those data would lie in the raw data of 16:20:07 ten months, and he had inadequate relief of 16:22:44
looking at supposing there were, what, something 16:20:11 pain. I suggested to him -- I asked him 16:22:49
like 200 patients in the Rowbotham Trial total, 16:20:14 carefully “can you tell, discern adverse effects 16:22:52
100 in the gabapentin group, how many of them at 16:20:20! or not?", and he said “not really, nothing 16:22:55
end point rather than baseline had a really 16:20:24 that's bothering me." I asked him "well, let's 16:22:58
dramatic effect. I don't know the answer to 16:20:27 try an experiment." 16:23:02
that. 16:20:29 And I tried five milligrams of 16:23:02
Q. So just so that I'm sure I understand, 16:20:30 morphine. "And those tablets can be split in 16:23:04
do you not have an opinion one way or the other 16:20:34 half, if it's too strong take less the next time 16:23:08
as to whether gabapentin is efficacious in the 16:20:36 you take some, if it it's too weak take another ‘16:23:12
279 281
treatment of PHN? 16:20:40 tablet and come back in two to three weeks and 16:23:14
A. I'iljust rely on my report for the 16:20:40 let me know what's happened. I'll give you 16:23:17
estimate of the mean effect, and the percentage 16:20:47 enough prescription that you can fill part of 16:23:19
of people who achieved a patient global 16:20:50 it, and you can fill the rest if you like and 16:23:21
impression of change at one or two, and the 16:20:54 | stop the gabapentin." 16:23:23
percent who achieved a 50 percent or greater 16:20:59 When he came back two to three weeks 16:23:25
reduction in pain, and I'm happy to refresh my 16:21:01; later he said "it's amazing, I'm sleeping very 16:23:27
memory if you want, but it's all there in 16:21:04 nicely now, I take five milligrams of morphine —_ 16:23:30
writing, and I stand by it. 16:21:06 at night and two and a half in the day, and my 16:23:32
But what that means in the real world = 16:21:12 balance disturbance is gone." So he could in 16:23:35
I'm less convinced about. 16:21:13 retrospect identify the neurotoxicity of 16:23:40
Q. Okay. You're aware that the FDA has 16:21:14 | gabapentin, and he could recognize good pain 16:23:43
concluded that gabapentin is efficacious inthe 16:21:17 | relief when he got it. 16:23:45
treatment of PHN and has, in fact, approved -- 16:21:21 That's what I'm talking about when I'm 16:23:46
A. Yes, lam, 16:21:21 referring -- that man was 88, he'd had a 16:23:48
Q. -- the drug for that use, correct? 16:21:24 melanoma removed, he has a limited life 16:23:51
MR. RONA: Objection. 16:21:26 expectancy, and he's looking for something 16:23:53
BY MR. POLUBINSKI: 16:21:31 meaningful to him, and there's no question about 16:23:57
Q. Do you disagree with the FDA's 16:21:33 it. Cut.and dried clinically. 16:23:58
conclusion? 16:21:35 There might be other people who would ‘16:24:04
MR. RONA: Objection, 16:21:36 not have that experience, but I can't tell you 16:24:05
A. Well, I'm not party to how they made —-16:21:36 from either literature review or from personal —_- 16:24:08
the decision. I'm not disputing anything inmy 16:21:46 experience what the precise frequency would be. 16:24:11]
own report or the mean effect observed in the 16:21:49 Q. On Pages 36 and 37 of your report, 16:24:15

 

 

 

71 (Pages 278 to 281)
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282 284
you -~ 16:24:23 Q. Okay. I've handed you a document 16:27:15
A. Nor can the FDA, by the way. 16:24:24 that's been marked as Exhibit 4 to your 16:27:17
Q. What's that? 16:24:26 deposition. It is an e-mail exchange, if I'm 16:27:19
A. Forgive me for interrupting. 16:24:27 reading it correctly, between you and 16:27:27
But nor can the FDA, because there's 16:24:29 Dr, Gilron. 16:27:30
no comparative experience that I know of. 16:24:31] A. Correct. 16:27:31
Q. I was going to say on Pages 36 and37. ~—-16:24:37 Q. You wrote to him an e-mail at some 16:27:33
of your report, it appeared that you did 16:24:39 point prior to March 14th of 2008, is that 16:27:37
te-analyze your data after removing the PHN 16:24:40) correct? 16:27:42
trials from the study, is that correct? 16:24:44 A. Yes, looks like his program in 16:27:42
A. Yes. Correct. 16:24:45 responding has deleted the date of my e-mail. 16:27:52
Q. Did you do this because the medicine 16:24:47 Q. Okay. As of this point at least, you 16:27:56
has been approved by the FDA for treatment of 16:24:5G had not met Dr. Gilron before, had you? 16:27:58
PHN? 16:24:53 A. Correct. I've never met him. 16:28:01
A. Yes. 16:24:54 Q. So this e-mail was essentially 16:28:03
Q. And even after you removed the PHN 16:24:54 | introducing yourself to him, among other things? 16:28:05
trials from your meta-analysis, gabapentin was 16:25:05 A. Correct. 16:28:06
still shown to be statistically superior to 16:25:08 Q. You'd agree with me, wouldn't you, 16:28:07
placebo in relieving neuropathic pain, correct? 16:25:11 that Dr. Gilron is a pain specialist? 16:28:16
MR. RONA: Objection. 16:25:14 A. Yes, 16:28:18
A. Yes, for the point estimate of the 16:25:15 Q. How many pain specialists of his 16:28:20
mean difference in pain score, it's so small 16:25:27 caliber do you believe there are in Canada? 16:28:23
that it's trivial and clinically obviously 16:25:30 MR. RONA: Objection. 16:28:25
meaningless, and it -- 16:25:33 A. Well, I don't know. I don't know him. 16:28:27
283 285
BY MR. POLUBINSKI: 16:25:33 He was very courteous in responding and friendly 16:28:33
Q. But it's statistically -- 16:25:35 in a telephone call, and he has considerable 16:28:36
A. Itnarrowly reaches statistical 16:25:36 eminence at his university, but I don't know 16:28:41
significance. It almost misses. 16:25:38 anything about his clinical practice because 16:28:46
And for the PGIC or the greater than 16:25:42 we're in totally different communities, so I 16:28:50
or equal to SO percent pain score reduction, it 16:25:47 can't comment on that. 16:28:52
doesn't make quite as big of an impact. Well,I 16:25:51 I have no reason to think it's 16:28:52
guess it depends on how you look at it. Italso 16:25:53 anything less than excellent, but I can't 16:28:54
makes gabapentin look somewhat less favorable, 16:25:56; comment with any knowledge. 16:28:56
but not dramatically so. 16:25:58 BY MR. POLUBINSKI: 16:29:00
Q. Okay. On Page 48 of your report you 16:25:59 Q. Okay. You understand that he's a 16:29:00
describe what you characterize as "a very 16:26:06 professor in the Departments of Anesthesiology, 16:29:02
interesting experiment of Dr. Ian Gilron," 16:26:13 Pharmacology and Toxicology, correct? 16:29:10
Did you attempt to contact Dr. Gilron 16:26:22 A. Correct. 16:29:12
in connection with your work on this case? 16:26:24 Q. And are you aware also he's the 16:29:16
A. I called him once, but I think prior 16:26:26 director of clinical pain research at Queens 16:29:17
to starting the work, I can't -- it might have 16:26:32 University? 16:29:22

 

been while I was already engaged, I don't 16:26:39
recall. Sometime in the first half of 2008. 16:26:42

MR. POLUBINSKI:; Okay. Let's mark the 16:26:44
next exhibit. 16:26:46

(Whereupon, Perry Exhibit Number 4 was 16:26:47

marked for identification.) 16:26:58

BY MR. POLUBINSKI: 16:26:58

A. Tfyou say he's the director, I won't 16:29:22

dispute that. 16:29:24

Q. Okay. And he actually conducts 16:29:24
clinical research in pain, correct? 16:29:29

A. Yes. 16:29:31

Q. Did you actually speak with Dr. Gilron 16:29:33

in connection with your work in this case? It 16:29:42

 

 

72 (Pages 282 to 285)
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to reference seventeen, an article by Finnerup, 17:03:09 if there's anything we need to go back to we 17:05:38
Otto and McQuay, McQuay of the same Cochrane 17:03:14 can. 17:05:41
Group, that's clearly not an accurate number. 17:03:19 MR. RONA: Ted, before you continue, 17:05:41
That's one of the reasons | would not rely on 17:03:21 there's a -- appears to be a privileged and 17:05:43
this guideline. The number is unfortunately as 17:03:24 confidential document possibly relating to a 17:05:45
inaccurate as was the number I gave in the 17:03:31 different matter stapled to the back page of 17:05:49
Therapeutics Initiative letter which was based 17:03:34 mine, my copy. 17:05:50
upon published but not unpublished trials and 17:03:37 MR. POLUBINSKI: Thanks for letting me 17:05:52
was therefore wrong and biased in favor of 17:03:39 know. 17:05:53
gabapentin. 17:03:46 MR. RONA: And possibly the witness. 17:05:53
Q. Referring to the Cochrane 17:03:48 THE WITNESS: It looks like the same —:17:05:56
Collaboration -- 17:03:48 thing. 17:05:59
MR. POLUBINSKI: And I'll move to 17:03:51 MR. POLUBINSKI: I don't know what 17:05:59
strike the last answer as nonresponsive. 17:03:53 this is. But thank you. It's not related to 17:06:00
BY MR. POLUBINSKI: 17:03:53 this matter. 17:06:06
Q. Referring to the Cochrane 17:03:55 MR, RONA: In light of that, can 17:06:07
Collaboration, you disagree with the conclusion _ 17:03:58 Dr. Perry, since it's marked as an exhibit, just 17:06:10
the Cochrane Collaboration reaches about the 17:04:01 thumb through it and make sure it looks like 17:06:12
efficacy of Neurontin? 17:04:05 it's complete and there's no other extraneous 17:06:14
MR. RONA: Objection. 17:04:05 pages? 17:06:17
A. Well, if you can show me the report, 17:04:06 MR. POLUBINSKI: Sure. 17:06:17
it will be easier to comment on their 17:04:10 MR. RONA: Can we get our copy back? 17:06:24
conclusion. 17:04:12 MR. POLUBINSKI: Of course (handing). 17:06:26
BY MR. POLUBINSKI: 17:04:12 Thanks for letting me know. 17:06:29
315 317
Q. Sure. 17:04:13 MR. RONA: You're welcome. 17:06:30
(Whereupon, Perry Exhibit Number 7 was 17:04:13 (Witness reviewing document.) 17:06:31
marked for identification.) 17:04:38 A. Yes, this looks like the one I'm 17:07:07
_ A. May Lask you something about this, 17:04:38 familiar with, 17:07:08
this document? 17:04:39 BY MR. POLUBINSKI: 17:07:12
BY MR. POLUBINSKI: 17:04:41 Q. Okay. Let's turn to Page 2 of the 17:07:12
Q. Sure. 17:04:42 document, Page 2 at the bottom, I think, it says 17:07:18
A. This looks pretty clearly like it's 17:04:49 "Plain Language Summary" at the top? 17:07:27
from the Cochrane Library, 2006, Issue 2, soit 17:04:52 MR. RONA: Internal Page Number 2. 17:07:29
has -- and it's copyright 2006, so I would 17:04:56 BY MR. POLUBINSKI: 17:07:32
assume this is the same version that I looked at 17:05:01 Q. Yes, "Plain Language Summary" at the 17:07:32
this year, or virtually identical to it, and has 17:05:05 top. 17:07:33
not been -- the simple mistakes I've pointed out 17:05:16 The first sentence reads “gabapentin 17:07:34
have probably not been corrected in this. Is 17:05:20 is effective for relieving pain caused by damage 17:07:35
that a reasonable -- 17:05:22 to nerves either from injury or disease." 17:07:38
MR. RONA: Do you need a moment to 17:05:22 Did [ read that correctly? 17:07:40
look this over? 17:05:23 A. Yes, you did. 17:07:42
THE WITNESS: It wouldn't hurt to 17:05:24 Q. And do you disagree with that 17:07:42
quickly look. Can you give me a minute or two? ‘17:05:26 conclusion? 17:07:46
It's not critical. 17:05:31 A. Yes, I think it's too broad and 17:07:46
BY MR. POLUBINSKI: 17:05:31 it's -- it doesn't accurately reflect the 17:07:50
Q. I think it probably isn't critical to 17:05:32 evidence, This review is not based on knowledge 17:07:54
my questions. You're welcome to look at it 17:05:34 of the unpublished trials. This is what turns 17:08:01
maybe at the end of the day when we're done, and 17:05:36 out to be a well-intentioned but inadequate 17:08:06

 

 

80 (Pages 314 to 317)
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Cochrane review that's technically sloppy. 17:08:09 those terms, but I don't think I would have said 17:10:42
For example, the Forest plots at the 17:08:12 it quite in those words to him. I may have put ‘17:10:44
very end are labelled under the outcome, they've 17:08:18! it in the report because I felt that way, butI = 17:10:47
put the condition, that's confusing to the 17:08:23 hope when I communicated to him I was alittle 17:10:49
reader and gives you some indication that it 17:08:25 bit more diplomatic. 17:10:51
wasn't done at a standard that the authors would 17:08:28 What page is it, 24? 17:10:56
have desired. It's embarrassing. 17:08:32 Q. 24, yes. 17:10:58
That's a relatively minor, easily 17:08:35 (Whereupon, Perry Exhibit Number 8 was 17:11:13
correctible point of view, but the outcome 17:08:38 marked for identification.) 17:11:20
should be, for example on Page 18 -- well, you 17:08:41 A. I'm sorry, which line or paragraph on —-17:11:20
can't tell by looking at it what the outcome 17:08:47 Page 24? 17:11:23
was, can you? 17:08:50 BY MR. POLUBINSKI: 17:11:24
Q. Let me ask you this. 17:08:50 Q. The one I was reading from was about 17:11:28
The studies that you're referring to 17:08:51 midway through the page, although -- it begins 17:11:29
that you believe that the Cochrane Collaboration 17:08:53 “unfortunately.” 17:11:34
did not take into consideration you did take 17:08:59 A. I'm sorry, I couldn't hear you, I 17:11:39
into consideration in your meta-analysis, 17:09:03 heard you, but I couldn't resolve the word you 17:11:41
correct? 17:09:05 used, You were referring to my saying it was 17:11:44
A. I took into consideration all of the 17:09:05 too sloppy, and I'm not sure -- 17:11:47
studies that I could find. 17:09:08 Q. My question really has less to do with 17:11:49
Q. And your meta-analysis still found 17:09:11 what's here than it does with what you 17:14:51
that gabapentin was statistically significantly 17:09:14 communicated to Dr. Wiffen. And the question 17:11:53
superior to placebo in the three efficacy 17:09:16 really is whether you communicated to him that 17:11:56
metrics that you were able to measure, correct? 17:09:20; his report is generally too sloppy to be 17:11:58
319 321
A. Correct. 17:09:24 considered reliable, 17:12:01
MR. RONA: Objection. 17:09:24 A. No, that's not how I would approach 17:12:07
BY MR. POLUBINSKI: 17:09:25 somebody of his eminence. I communicated tohim 17:12:04
Q. And notwithstanding your criticisms of 17:09:31 that the review was difficult to understand 17:12:14
the Cochrane report, you did adopt the same 17:09:33 because the Forest plots are mislabeled, the 17:12:47
basic methodologies to conduct your own 17:09:36 outcomes are all indicia, somebody just mistyped 17:12:25
meta-analysis, correct? 17:09:39 the wrong words into the outcome in the 17:12:30
A. The methodologies are standard, and 17:09:40 software, and that's sloppy by anybody's 17:12:33
they're pioneered not by these authors 17:09:41 standard. But I'm not sure I would have said 17:12:35
exclusively but by the whole international 17:09:45 sloppy to the author, I just try to be more 17:12:39
movement, and the Cochrane Collaboration. 17:09:48 } polite than that. 17:12:42
Q. Okay. 17:09:51 Q. Let's show you the next document that 17:12:43
A. And for want of a better approach, I 17:09:56 we've marked which is Exhibit 8. 17:12:44
adopted the -- a modified version of their 17:09:59 This document contains e-mail 17:12:59
hierarchy. 17:10:04 correspondence between yourself and Dr. Wiffen, 17:13:03
Q. You communicated with Dr. Wiffen who 17:10:08 is that correct? 17:13:08
is the lead author of the review, is that 17:10:17 A. Yes. I guess the string starts at 17:13:09
correct? 17:10:20 the -- 17:13:11
A. Yes, I have, 17:10:20 Q. Right. My question -- 17:13:12
Q. Did you communicate to him that you 17:10:20 A. -- the last page. 17:13:14
believed that his, I'm reading from Page 24 of — 17:10:24 Q. Sure. 17:13:15
your report, that "his 2005 review is generally 17:10:29 My question is sort of a simple one 17:13:15
too sloppy to be considered reliable"? 17:10:32 that relates to the last e-mail in the chain, 17:13:18
A. [hate to think I put it in exactly 17:10:40 which is dated June 9th from you to Dr. Wiffen. 17:13:20

 

 

 

81 (Pages 318 to 321)
